                   1   LATHAM & WATKINS LLP
                          Christopher S. Yates (SBN 161273)
                   2      Belinda S Lee (SBN 199635)
                          Ashley M. Bauer (SBN 231626)
                   3   505 Montgomery Street, Suite 2000
                       San Francisco, California 94111-6538
                   4   Telephone: 415.391.0600
                       Facsimile: 415.395.8095
                   5   Email: Chris.Yates@lw.com
                               Belinda.Lee@lw.com
                   6           Ashley.Bauer@lw.com

                   7   Attorneys for Defendant Hermès of Paris, Inc.
                   8
                                                     UNITED STATES DISTRICT COURT
                   9
                                                    NORTHERN DISTRICT OF CALIFORNIA
               10
                                                        SAN FRANCISCO DIVISION
               11

               12      TINA CAVALLERI, an individual; MARK             CASE NO. 3:24-cv-01707-JD
                       GLINOGA, an individual, on behalf of
               13
                       themselves and all others similarly situated,   JOINT STIPULATION TO EXTEND TIME
               14                                                      TO ANSWER OR OTHERWISE RESPOND
                                      Plaintiffs,                      TO COMPLAINT PURSUANT TO LOCAL
               15                                                      RULE 6-1(a)
                              vs.
               16                                                      Hon. James Donato
                       HERMÈS INTERNATIONAL, a French
               17      corporation and HERMÈS OF PARIS, INC.,
                       a New York corporation, and DOES 1
               18      through 10; inclusive,
               19
                                      Defendants.
               20

               21

               22

               23

               24

               25

               26

               27

               28

                                                                                   STIP TO EXTEND TIME TO ANSWER OR
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                OTHERWISE RESPOND TO THE COMPLAINT
                                                                                              CASE NO. 3:24-CV-01707-JD
                   1          Pursuant to Civil Local Rule 6-1(a), Plaintiffs Tina Cavalleri and Mark Glinoga, on

                   2   behalf of themselves and all others similarly situated (“Plaintiffs”), and Defendant Hermès of

                   3   Paris, Inc. (collectively, the “Parties”) by and through their undersigned counsel of record,

                   4   hereby stipulate as follows:

                   5          WHEREAS, Plaintiffs filed a Complaint on March 19, 2024 (ECF No. 1);

                   6          WHEREAS, Plaintiffs filed Returns of Summons reflecting service of the Complaint and

                   7   summonses as to Defendants Hermès International and Hermès of Paris, Inc. (“Defendants”) on

                   8   March 28, 2024 (ECF Nos. 11 and 12);

                   9          WHEREAS, the current deadline to answer or otherwise respond to the Complaint is

               10      April 15, 2024;

               11             WHEREAS, counsel for the Parties conferred telephonically and have agreed that party

               12      and judicial efficiency would be best served by extending the deadline for Defendants to answer,

               13      move to dismiss, or otherwise respond to the Complaint in order to allow the Parties sufficient

               14      time to negotiate regarding case management issues, including case scheduling;

               15             WHEREAS, the Parties have agreed that, should Defendants respond to the complaint

               16      with a motion to dismiss, the Parties will stipulate (subject to court approval) to a briefing

               17      schedule and hearing date that provides at least 21 days for Plaintiffs to file an opposition;

               18             WHEREAS, in making this Stipulation, Defendants do not waive any (i) defenses or

               19      arguments for dismissal that may be available under Fed. R. Civ. P. 12; (ii) affirmative defenses

               20      under Fed. R. Civ. P. 8; or (iii) other statutory or common law defenses that may be available.

               21      Defendants expressly reserve their rights to raise any such defenses (or any other defense) in

               22      response to either the Complaint or any amended or later-filed complaint;

               23             WHEREAS, the stipulated extension of the response deadlines will not otherwise affect

               24      any deadlines currently set by the Court or other applicable rules;

               25             WHEREAS, the Parties have not previously stipulated to any extensions of time to

               26      answer or otherwise respond to the Complaint;

               27

               28
                                                                          1
ATTORNEYS AT LAW
                                                                                          STIP TO EXTEND TIME TO ANSWER OR
 SAN FRANCISCO                                                                         OTHERWISE RESPOND TO THE COMPLAINT
                                                                                                     CASE NO. 3:24-CV-01707-JD
                   1          NOW THEREFORE, the Parties through their undersigned counsel, hereby stipulate and

                   2   agree to extend the deadlines for Defendants to answer, move to dismiss, or otherwise respond to

                   3   the Complaint until May 10, 2024.

                   4          IT IS SO STIPULATED.

                   5   Dated: April 12, 2024                           Respectfully submitted,

                   6                                                   LATHAM & WATKINS LLP

                   7                                                   By       /s/ Christopher S. Yates
                                                                            Christopher S. Yates
                   8                                                        Belinda S Lee
                                                                            Ashley M. Bauer
                   9                                                        505 Montgomery Street, Suite 2000
                                                                            San Francisco, California 94111-5438
               10                                                           Telephone: 415.391.0600
                                                                            Facsimile: 415.396.8095
               11                                                           Email: Chris.Yates@lw.com
                                                                                    Belinda.Lee@lw.com
               12                                                                   Ashley.Bauer@lw.com

               13                                                           Attorneys for Defendant
                                                                            Hermès of Paris, Inc.
               14

               15      Dated: April 12, 2024                           HAFFNER LAW PC

               16                                                      By       /s/ Joshua H. Haffner
                                                                            Joshua H. Haffner
               17                                                           Alfredo Torrijos
                                                                            Vahan Mikayelyan
               18                                                           15260 Ventura Blvd., Suite 1520
                                                                            Sherman Oaks, California 91403
               19                                                           Telephone: 213.514.5681
                                                                            Facsimile: 213.514.5682
               20                                                           Email: jff@haffnerlawyers.com
                                                                                    at@haffnerlawyers.com
               21                                                                   vh@haffnerlawyers.com

               22                                                           Shaun C. Setareh
                                                                            Thomas A. Segal
               23                                                           SETAREH LAW GROUP
                                                                            9665 Wilshire Blvd., Suite 430
               24                                                           Beverly Hills, California 90212
                                                                            Telephone: 310.888.7771
               25                                                           Facsimile: 310.888.0109
                                                                            Email: shaun@setarehlaw.com
               26                                                                  thomas@setarehlaw.com

               27                                                           Attorneys for Plaintiffs and
                                                                            the Proposed Class
               28
                                                                       2
ATTORNEYS AT LAW
                                                                                       STIP TO EXTEND TIME TO ANSWER OR
 SAN FRANCISCO                                                                      OTHERWISE RESPOND TO THE COMPLAINT
                                                                                                  CASE NO. 3:24-CV-01707-JD
                   1                                     SIGNATURE ATTESTION
                   2          I am the ECF User whose identification and password are being used to file the foregoing

                   3   Joint Stipulation to Answer or Otherwise Respond to the Complaint Pursuant to Local Rule 6-

                   4   1(a). Pursuant to Local Rule 5-1(i)(3) regarding signatures, I, Christopher S. Yates, attest that

                   5   concurrence in the filing of this document has been obtained.

                   6

                   7   Dated: April 12, 2024                                 /s/ Christopher S. Yates
                                                                             Christopher S. Yates
                   8

                   9

               10

               11

               12

               13

               14

               15

               16

               17

               18

               19

               20

               21

               22

               23

               24

               25

               26

               27

               28
                                                                         3
ATTORNEYS AT LAW
                                                                                          STIP TO EXTEND TIME TO ANSWER OR
 SAN FRANCISCO                                                                         OTHERWISE RESPOND TO THE COMPLAINT
                                                                                                     CASE NO. 3:24-CV-01707-JD
